Case: 2:06-cv-00319-GCS-MRA Doc #: 22 Filed: 05/04/07 Page: 1 of 2 PAGEID #: 151




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

GHULAM ANJUM,

              Plaintiff,                           Civil Action No. 2:06-cv-00319


       v.                                          JUDGE SMITH
                                                   MAGISTRATE JUDGE ABEL
MARK HANSEN, et al.,

              Defendants.

    STIPULATION OF EXTENSION OF TIME TO FILE RESPONSIVE PLEADING TO
                    PLAINTIFF’S AMENDED COMPLAINT

       The parties hereby stipulate that Defendants, shall have until May 29, 2007 to file a

responsive pleading to Plaintiff’s Amended Complaint. This stipulated extension does not exceed

20 days and Defendants have requested no other stipulated extensions.



Respectfully submitted,

GREGORY G. LOCKHART,
UNITED STATES ATTORNEY


s/Christopher R. Yates______________               s/Douglas S. Weigle/as per authorization
CHRISTOPHER R. YATES (0064776)                     DOUGLAS S. WEIGLE (0000747)
Assistant United States Attorney                   Bartlett & Weigle Co., L.P.A.
303 Marconi Boulevard, 2nd Floor                   432 Walnut Street, Suite 1100
Columbus, Ohio 43215                               Cincinnati, Ohio 45202
(614) 469-5715                                     (513) 241-3992
Counsel for Defendants                             Counsel for Plaintiff




                                               1
Case: 2:06-cv-00319-GCS-MRA Doc #: 22 Filed: 05/04/07 Page: 2 of 2 PAGEID #: 152




                                  CERTIFICATE OF SERVICE

I hereby certify that on May 4, 2007, I electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to Douglas Shaw Weigle, Esq.,

Attorney for Plaintiff.



                                                      s/Christopher R. Yates
                                                      CHRISTOPHER R. YATES (0064776)
                                                      Assistant United States Attorney




U:\cyates\Anjumstipulatedextension.wpd            2
